         Case 2:20-cv-00491-AJS Document 129 Filed 08/13/20 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA


 BLAIR DOUGLASS,

                        Plaintiff,                       Lead Case No. 2:20-cv-00491-AJS

         v.

 ’47 BRAND, LLC,

                        Defendant.


 BLAIR DOUGLASS,

                        Plaintiff,                       Member Case No. 2:20-cv-00521-AJS

         v.

 HYLETE, INC.,

                        Defendant.


               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       PLEASE TAKE NOTICE that Plaintiff Blair Douglass voluntarily dismisses all claims

alleged in the member case, Douglass v. Hylete, Inc., Member Case No. 2:20-cv-00521-AJS, with

prejudice, and with each party bearing his and its own costs.

       Plaintiff filed a Notice of Settlement as to this member case on July 15, 2020 (ECF 97),

which the Court approved the same date. ECF 98.

       Defendant Hylete, Inc. has not filed a responsive pleading such that dismissal under Fed.

R. Civ. P. 41(a)(1) is appropriate.

                                                   Respectfully Submitted,


 Dated: August 13, 2020                           /s/ Kevin W. Tucker
                                                  Kevin W. Tucker (He/Him/His)
Case 2:20-cv-00491-AJS Document 129 Filed 08/13/20 Page 2 of 3




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         Case 2:20-cv-00491-AJS Document 129 Filed 08/13/20 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this day, August 13, 2020, a true and correct copy of the foregoing

document was filed on the Court’s CM/ECF system and will be served upon all counsel of record.

I also certify a true and correct copy will be served upon counsel for Defendant:

Mark Schollaert
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662 Encinitas Blvd., Suite 248
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                                             Respectfully Submitted,

 Dated: August 13, 2020                           /s/ Kevin W. Tucker
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